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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

       Civil Action No. 17-cv-02887-PAB-STV

       JULIE CARLSON

              Plaintiff,

       v.

       TOWN OF MOUNTAIN VILLAGE, COLORADO, ANTHONY MORABITO, CHRIS
       BROADY, KIP ALBANESE, NATHAN SANTOS, TOM HALPER, CHRIS WHITE, JOSHUA
       M. KLIMASEWISKI, ALISIA KLIMASEWSKI, COLLEEN MAHONEY, TELLURIDE R-1
       SCHOOL DISTRICT, in its local capacity, VIRGINIA ACHTER, BRIAN Y. CARLSON,
       APEX CONSTRUCTION, LLC, a Colorado Limited Liability Company, CONNECT SKIS,
       LLC, a Colorado Limited Liability Company, JOHN DOE DEFENDANTS ONE THROUGH
       FIVE, MARY DOE DEFENDANTS ONE THROUGH FIVE, and DOE INSTITUTIONAL
       DEFENDANTS ONE THROUGH FIVE,

             Defendants.
       ______________________________________________________________________________

                                 MOTION FOR SANCTIONS
       ______________________________________________________________________________

              Defendants Telluride School District R-1 (the “District”) and Colleen Mahoney, pursuant

       to Fed. R. Civ. P. 11(c)(2) and 28 U.S.C. § 1927, hereby move this Court to impose sanctions

       against attorney George Allen, the attorney representing Plaintiff Julie Carlson, as follows:

                   CERTIFICATE OF COMPLIANCE WITH FED. R. CIV. P. 11(c)(2) AND
                                   D.C.COLO.LCivR 7.1

              Undersigned counsel certifies that he served a copy of this motion upon Mr. Allen via e-

       mail, as permitted under Fed. R. Civ. P. 5, on February 19, 2019, more than 21 days before filing

       this motion with the Court, as required by Fed. R. Civ. P. 11(c)(2). A copy of the motion served

       on Mr. Allen, which is substantially the same as this document, is attached hereto as Exhibit A.
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       After being sent this motion on February 19, 2019, Mr. Allen did not respond, and undersigned

       counsel presumes this motion is opposed.

                           INTRODUCTION AND FACTUAL BACKGROUND

              On August 14, 2018, more than eight months after filing the initial complaint, Mr. Allen

       filed the Second Amended Complaint (“Complaint”) (Docket No. 68) that added the District and

       Ms. Mahoney as defendants. The Complaint alleges that the District and Ms. Mahoney violated

       the Racketeering Influenced and Corrupt Organizations Act (“RICO”), the Colorado Organized

       Crime Control Act (“COCCA”), and 42 U.S.C. § 1983. (Compl. ¶¶ 4L, 4M, 214-215, 223-228,

       338, 347, 354.) Plaintiff’s RICO and COCCA claims against the District and Ms. Mahoney have

       no support in the law and are frivolous.

              The District is a public school district located in Telluride, Colorado and Ms. Mahoney is

       a former principal of Telluride Elementary School. Plaintiff has two sons with her ex-husband,

       Defendant Brian Carlson, MC (currently in 5th grade) and QC (currently in 8th grade), both of

       whom have attended District schools since kindergarten. (Id. ¶¶ 4O(iii), 4A(i), 4M.) Plaintiff is

       an alcoholic with convictions for driving under the influence of alcohol and has been jailed on

       multiple occasions including one stretch where she was jailed for eight months from December

       2013 to August 2014 and one stretch where she was jailed for four months from May to October

       2017. (Id. ¶¶ 4A(ii), 5, 35, 293.) On December 10, 2013, a Temporary Civil Protection Order

       (the “Protection Order”) was issued against Plaintiff. (Id. ¶ 222; Exhibit B – Protection Order).

       The Protection Order prohibited Plaintiff from contact with MC, QC, Mr. Carlson, and anyone

       under the age of 18, and prohibited Plaintiff from entering or being within 100 yards of Telluride

       Elementary School. (Ex. B at 1-2, 5.)


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              Ms. Mahoney was the principal of Telluride Elementary School during the 2014-2015

       school year. (Compl. ¶ 4L.) In response to the Protection Order, Ms. Mahoney directed Plaintiff

       that she was not to be on Telluride Elementary School property and informed appropriate school

       staff that Plaintiff was not to be on school property for a period of time during the 2014-2015

       school year. (Exhibit C ¶ 5 – Affidavit of Colleen Mahoney; Compl. ¶¶ 4L, 214-215; 222-223.)

       Once Ms. Mahoney learned that the Protection Order’s prohibition of Plaintiff from Telluride

       Elementary School had ended, Ms. Mahoney informed Plaintiff and school staff that her

       directive was no longer in effect. (Ex. C ¶ 6.)

              Plaintiff alleges that Ms. Mahoney and the District violated RICO and COCCA when: (1)

       Ms. Mahoney prohibited Plaintiff from being on Telluride Elementary School property for a

       portion of the 2014-2015 school year pursuant to the court-issued Protection Order, and (2) the

       District “monitored” and “surveilled” Plaintiff when she was on school property during the

       2017-2018 school year.

              As explained below, Plaintiff’s RICO and COCCA claims against the District and Ms.

       Mahoney are not warranted by existing law and there is no reasonable argument for extending or

       modifying the law to create support for these claims. Mr. Allen’s pursuit of these claims

       constitutes pursuit of a frivolous action. This is not the first time Mr. Allen has pursued

       frivolous RICO claims in this court. Mr. Allen was sanctioned under 28 U.S.C. § 1927 in

       Loncar v. W. Peak, LLC, No. 08-CV-01592-PAB-CBS, 2011 WL 1211522, at *5-*6 (D. Colo.

       Mar. 30, 2011) for asserting a frivolous RICO claim.

              By signing the frivolous Complaint and response to the District’s and Ms. Mahoney’s

       Motion to Dismiss (“Response”, Docket No. 111), Mr. Allen has violated Fed. R. Civ. P. 11.


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       Further, Mr. Allen has violated 28 U.S.C. § 1927 by adding the District and Ms. Mahoney to this

       lawsuit, and continuing pursuit of Plaintiff’s claims even after the District and Ms. Mahoney

       filed a Motion to Dismiss (Docket No. 101) outlining the baselessness of the RICO and COCCA

       claims.

                                              LEGAL STANDARDS

                 A.     Fed. R. Civ. P. 11(b).

                 “[Fed. R. Civ. P.] 11 imposes a duty on attorneys to certify that they have conducted a

       reasonable inquiry and have determined that any papers filed with the court are well grounded in

       fact, legally tenable, and not interposed for any improper purpose.” Cooter & Gell v. Hartmarx

       Corp., 496 U.S. 384, 393 (1990) (internal citations omitted). Rule 11 clearly provides that an

       attorney may be sanctioned for signing a pleading without first conducting a “reasonable

       inquiry.” Bus. Guides, Inc. v. Chromatic Commc’ns Enter., Inc., 498 U.S. 533, 541 (1991).

       A Rule 11 violation occurs where it is patently clear that a claim has absolutely no chance of

       success under the existing precedents, and where no reasonable argument can be advanced to

       extend, modify, or reverse the law as it stands. Harrison v. Luse, 760 F.Supp. 1394, 1399 (D.

       Colo. 1991). Rule 11 sanctions do not require a finding of subjective bad faith on the part of the

       offending counsel. Greeley Pub. Co. v. Hergert, 233 F.R.D. 607, 610 (D. Colo. 2006). Whether

       a reasonable inquiry was conducted and reasonable conclusions were drawn therefrom is

       governed by an objective standard. Bus. Guides, 498 U.S. at 549; Dodd Ins. Serv. v. Royal Ins.

       Co. of Am., 935 F.2d 1152, 1155 (10th Cir. 1991). An attorney’s good faith belief in the merit of

       factual allegations and legal claims asserted in a pleading is not sufficient to avoid Rule 11

       sanctions. White v. Gen. Motors Corp., 908 F.2d 675, 680 (10th Cir. 1990). Rather, a pleading


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       signed by an attorney must be based on a reasonable inquiry and “in accord with what a

       reasonable, competent attorney would believe under the circumstances.” Id.

              “Rule 11 requires sanctions against attorneys who file signed pleadings, motions or other

       papers in district court which are not well grounded in fact, are not warranted by existing law or

       a good faith argument for its extension, or are filed for an improper purpose.” Adamson v.

       Bowen, 855 F.2d 668, 672 (10th Cir. 1988) (emphasis added).

              B.      28 U.S.C. § 1927.

              Any attorney who multiplies proceedings “unreasonably and vexatiously may be required

       by the court to satisfy personally the excess costs, expenses, and attorney’s fees reasonably

       incurred because of such conduct.” 28 U.S.C. § 1927. The proper standard under § 1927 is that

       excess costs, expenses, or attorney’s fees are imposable against an attorney personally “for

       conduct that, viewed objectively, manifests either intentional or reckless disregard of the

       attorney’s duties to the court.” Braley v. Campbell, 832 F.2d 1504, 1512 (10th Cir. 1987).

       Subjective bad faith by the attorney need not be shown to impose sanctions under § 1927. Id.

                                                  ANALYSIS

              RICO and COCCA are interpreted according to the same principles. Tara Woods Ltd.

       P’ship v. Fannie Mae, 731 F. Supp. 2d 1103, 1125 (D. Colo. 2010) (citing People v. Hoover, 165

       P.3d 784, 798 (Colo. App. 2006)).

              A.      A Reasonable Inquiry into RICO Law Would Have Shown that there is No
                      Reasonable Argument that Plaintiff Has Standing to Pursue the Claims.

              To have standing under RICO, a plaintiff must be “injured in his business or property by

       reason of a violation of section 1962.” Tal v. Hogan, 453 F.3d 1244, 1253 (10th Cir. 2006).

       “Thus … standing for private individuals under RICO requires a plaintiff to have ‘been injured

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       in his business or property by the conduct constituting the violation.’” Id. (quoting Sedima,

       S.P.R.L. v. Imrex, Co., 473 U.S. 479, 496 (1985)). Under RICO, “injury to business or property

       ‘requires proof of a concrete financial loss and not merely injury to a valuable intangible

       property interest.’” Ivar v. Elk River Partners, LLC, 705 F. Supp. 2d 1220, 1232 (D. Colo. 2010)

       (quoting Maio v. Aetna, Inc., 221 F.3d 472, 483 (3rd Cir. 2000)). “[I]njury to … reputation,

       dignity and emotional damages are not the type of injuries redressable by … RICO which are

       expressly limited to injuries to ‘business or property.’” Tal, 453 F.3d at 1254 (citing 18 U.S.C.

       § 1964(c)); see also Bowen v. Oistead, 125 F.3d 800, 806 (9th Cir. 1997) (a RICO claim may not

       be based on allegations of civil rights violations).

              Plaintiff’s alleged injuries resulting from the acts of the District and Ms. Mahoney

       include civil rights violations, damage to reputation, and being humiliated and embarrassed.

       (Compl. ¶¶ 214, 223, 226, 227.) RICO case law expressly holds that these injuries are not

       redressable by RICO. Nowhere in the Complaint does Plaintiff allege that any “business or

       property” interest was injured by the acts of Ms. Mahoney or the District. Further, any argument

       that could be made that a “business or property” interest was injured by the acts of Ms. Mahoney

       or the District would be frivolous. The only conduct of Ms. Mahoney and the District at issue is:

       (1) Ms. Mahoney prohibiting Plaintiff from entering Telluride Elementary School during the

       2014-2015 school year due to the court-issued Protection Order, and (2) the District allegedly

       “monitoring” and “surveilling” Plaintiff when she was on school property during the 2017-2018

       school year. Under no set of facts is it feasible that directing Plaintiff not to be on school

       property and allegedly monitoring her while on school property would result in financial loss

       related to any business or property interest of Plaintiff. Thus, Plaintiff’s RICO claim is not


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       warranted by existing law because under no set of facts does she have standing to pursue the

       claim. Further, there is no reasonable argument Plaintiff can make to extend, modify, or reverse

       the law regarding RICO standing.

              B.      A Reasonable Inquiry into RICO Law Would Have Shown that there is No
                      Reasonable Argument that Ms. Mahoney and the District Engaged in a
                      “Pattern of Racketeering Activity”.

              For her RICO claim, Plaintiff must establish that Ms. Mahoney and the District invested

       in, controlled, or conducted an enterprise “through a pattern of racketeering activity.” Tal, 453

       F.3d at 1261. “Racketeering activity” is any “act which is indictable under federal law and

       specifically includes mail fraud, wire fraud and racketeering.” Id. As stated earlier, the only

       conduct of Ms. Mahoney and the District at issue is: (1) Ms. Mahoney prohibiting Plaintiff from

       entering Telluride Elementary School during the 2014-2015 school year due to the court-issued

       Protection Order, and (2) the District allegedly “monitoring” and “surveilling” Plaintiff when she

       was on school property during the 2017-2018 school year. This alleged conduct cannot, under

       any set of facts, constitute “racketeering activity” as that term is statutorily defined. Further,

       there is no reasonable argument Plaintiff can make to extend, modify, or reverse the law

       regarding what constitutes “racketeering activity.”

              Additionally, to establish a RICO claim, Plaintiff must establish that Ms. Mahoney and

       the District engaged in a “pattern of racketeering activity.” A “pattern of racketeering activity”

       does not include acts “extending over a few weeks or months” that do not “threaten[] … future

       criminal conduct …: Congress was concerned in RICO with long-term criminal conduct.”

       Boone v. Carlsbad Bancorporation, Inc., 972 F.2d 1545, 1556 (10th Cir. 1992). Plaintiff has not

       contended that the alleged acts of Ms. Mahoney and the District constitutes or threatens long-


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       term criminal conduct. Additionally, there is no reasonable argument that can be made that the

       District and Ms. Mahoney have engaged in long-term criminal conduct and that they will

       continue to do so. Plaintiff’s RICO claim is not warranted by existing law because under no set

       of facts did Ms. Mahoney and the District engage in a “pattern of racketeering activity”. Further,

       there is no reasonable argument Plaintiff can make to extend, modify, or reverse RICO law

       regarding the requirement that the District and Ms. Mahoney engage in a pattern of racketeering

       activity.

               In sum, Plaintiff has no chance of success under existing RICO precedent and there is no

       reasonable argument that can be advanced to extend, modify or reverse the law as it stands.

       Plaintiff and Mr. Allen appear to concede as much because they fail altogether to respond to the

       District’s and Ms. Mahoney’s Motion to Dismiss arguments regarding RICO standing and

       racketeering activity. (See Mot. to Dismiss at 5-8; Resp. to Mot. to Dismiss.) The arguments

       made in the Motion to Dismiss are substantially identical to the arguments made in this motion,

       and Mr. Allen and Plaintiff made no attempt to dispute the baselessness of the RICO and

       COCCA claims in the response.

          ATTORNEY GEORGE ALLEN FAILED TO TAKE ADVANTAGE OF RULE 11’S
                                SAFE HARBOR

               Fed. R. Civ. P. 11(c)(2) states:

               Motion for Sanctions. … The motion must be served under Rule 5, but it must not be
               filed or be presented to the court if the challenged paper, claim, defense, contention, or
               denial is withdrawn or appropriately corrected within 21 days after service …”

               The cited passage has come to be known as the “safe harbor” provision of Rule 11. The

       purpose of such service in advance of filing with the court is “to give the parties at whom the

       motion is directed an opportunity to withdraw or correct the offending contention.” Hutchinson

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       v. Pfeil, 208 F.3d 1180, 1184 (10th Cir. 2000). Given the circumstances, the only way to cure

       the sanctionable conduct is for Attorney George Allen to dismiss his RICO and COCCA claims

       against Ms. Mahoney and the District. He did not do so during the safe harbor period.

                                                CONCLUSION

              A reasonable inquiry by Mr. Allen before signing and filing the Complaint and Response

       would have left no doubt that Plaintiff’s RICO and COCCA claims against Ms. Mahoney and the

       District are frivolous and have no chance of success. Thus, Mr. Allen has violated Rule 11.

       Further, Mr. Allen has violated 29 U.S.C. § 1927 by adding the District and Ms. Mahoney to the

       lawsuit and continuing pursuit of the claims after the filing of the District’s and Ms. Mahoney’s

       Motion to Dismiss.

              WHEREFORE, the District and Ms. Mahoney request that the Court find Mr. Allen to be

       in violation of Fed. R. Civ. P. 11 and 29 U.S.C. § 1927, sanction Mr. Allen by making him

       jointly and severally liable for the District’s and Ms. Mahoney’s attorneys’ fees in this matter,

       and grant such other relief as the Court deems just.

              RESPECTFULLY SUBMITTED this 14th day of March, 2019.

                                             SEMPLE, FARRINGTON, EVERALL & CASE, P.C.

                                                              By:   s/ Daniel P. Spivey
                                                                     Michael Brent Case
                                                                     Daniel P. Spivey
                                                                     1120 Lincoln Street, Suite 1308
                                                                     Denver, CO 80203
                                                                     (303) 595-0941
                                                                     bcase@semplelaw.com
                                                                     dspivey@semplelaw.com




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                                        CERTIFICATE OF SERVICE

                I hereby certify that on the 14th day of March, 2019, a correct copy of the foregoing was
        filed and served via CM/ECF to the following:

         George M. Allen, Esq.                                Gordon L. Vaughan
         206A Society Drive                                   Alexandria L. Bell
         Telluride, CO 81435                                  Vaughan & DeMuro
         yxgeo@yahoo.com                                      111 South Tejon, Suite 545
         Counsel for Plaintiff Julie Carlson                  Colorado Springs, CO 80903
                                                              gvaughan@vaughandemuro.com
         Jared R. Ellis, Esq.                                 Counsel for Defendant Chris White
         Jaudon & Avery, LLP
         600 Grant Street, Ste. 505
         Denver, CO 80203-3526
         jellis@jalegal,com
         Counsel for Defendant Brian Y. Carlson

         Cathy Havener Greer, Esq.
         Katherine M.L. Pratt, Esq.
         Wells, Anderson & Race, LLC
         1700 Broadway, Ste. 1020
         Denver, CO 80290
         cgreer@warllc.com
         kpratt@warllc.com
         Counsel for Defendants Town of Mountain Village,
         Colorado, Kip Albanese and Nathan Santos

         Eric M. Ziporin
         Jonathan N. Eddy
         Senter, Goldfarb & Rice, LLC
         3900 East Mexico Avenue, Suite 700
         Denver, CO 80210
         eziporin@sgrllc.com
         jeddy@sgrllc.com
         Counsel for Defendant Tom Halper



                                                    By:     s/ Elaine Montoya




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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO

        Civil Action No. 17-cv-02887-PAB-STV

        JULIE CARLSON

               Plaintiff,

        v.

        TOWN OF MOUNTAIN VILLAGE, COLORADO, ANTHONY MORABITO, CHRIS
        BROADY, KIP ALBANESE, NATHAN SANTOS, TOM HALPER, CHRIS WHITE, JOSHUA
        M. KLIMASEWISKI, ALISIA KLIMASEWSKI, COLLEEN MAHONEY, TELLURIDE R-1
        SCHOOL DISTRICT, in its local capacity, VIRGINIA ACHTER, BRIAN Y. CARLSON,
        APEX CONSTRUCTION, LLC, a Colorado Limited Liability Company, CONNECT SKIS,
        LLC, a Colorado Limited Liability Company, JOHN DOE DEFENDANTS ONE THROUGH
        FIVE, MARY DOE DEFENDANTS ONE THROUGH FIVE, and DOE INSTITUTIONAL
        DEFENDANTS ONE THROUGH FIVE,

              Defendants.
        ______________________________________________________________________________

                                  MOTION FOR SANCTIONS
        ______________________________________________________________________________

               Defendants Telluride School District R-1 (the “District”) and Colleen Mahoney, pursuant

        to Fed. R. Civ. P. 11(c)(2) and 28 U.S.C. § 1927, hereby move this Court to impose sanctions

        against attorney George Allen, the attorney representing Plaintiff Julie Carlson, as follows:

                CERTIFICATE OF COMPLIANCE WITH FED. R. CIV. P. 11(c)(2)

               Undersigned counsel certifies that he served a copy of this motion upon Mr. Allen via e-

        mail, as permitted under Fed. R. Civ. P. 5, on February 19, 2019, more than 21 days before filing

        this motion with the Court, as required by Fed. R. Civ. P. 11(c)(2). A copy of the motion served

        on Mr. Allen, which is substantially the same as this document, is attached hereto as Exhibit A.
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                            INTRODUCTION AND FACTUAL BACKGROUND

               On August 14, 2018, more than eight months after filing the initial complaint, Mr. Allen

        filed the Second Amended Complaint (“Complaint”) (Docket No. 68) that added the District and

        Ms. Mahoney as defendants. The Complaint alleges that the District and Ms. Mahoney violated

        the Racketeering Influenced and Corrupt Organizations Act (“RICO”), the Colorado Organized

        Crime Control Act (“COCCA”), and 42 U.S.C. § 1983. (Compl. ¶¶ 4L, 4M, 214-215, 223-228,

        338, 347, 354.) Plaintiff’s RICO and COCCA claims against the District and Ms. Mahoney have

        no support in the law and are frivolous.

               The District is a public school district located in Telluride, Colorado and Ms. Mahoney is

        a former principal of Telluride Elementary School. Plaintiff has two sons with her ex-husband,

        Defendant Brian Carlson, MC (currently in 5th grade) and QC (currently in 8th grade), both of

        whom have attended District schools since kindergarten. (Compl. ¶¶ 4O(iii), 4A(i), 4M.)

        Plaintiff is an alcoholic with convictions for driving under the influence of alcohol and has been

        jailed on multiple occasions including one stretch where she was jailed for eight months from

        December 2013 to August 2014 and one stretch where she was jailed for four months from May

        to October 2017. (Id. ¶¶ 4A(ii), 5, 35, 293.) On December 10, 2013, a Temporary Civil

        Protection Order (the “Protection Order”) was issued against Plaintiff. (Id. ¶ 222; Exhibit B –

        Protection Order). The Protection Order prohibited Plaintiff from contact with MC, QC, Mr.

        Carlson, and anyone under the age of 18, and prohibited Plaintiff from entering or being within

        100 yards of Telluride Elementary School. (Ex. B at 1-2, 5.)

               Ms. Mahoney was the principal of Telluride Elementary School during the 2014-2015

        school year. (Compl. ¶ 4L.) In response to the Protection Order, Ms. Mahoney directed Plaintiff


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        that she was not to be on Telluride Elementary School property and informed appropriate school

        staff that Plaintiff was not to be on school property for a period of time during the 2014-2015

        school year. (Exhibit C ¶ 5 – Affidavit of Colleen Mahoney; Compl. ¶¶ 4L, 214-215; 222-223.)

        Once Ms. Mahoney learned that the Protection Order’s prohibition of Plaintiff from Telluride

        Elementary School had ended, Ms. Mahoney informed Plaintiff and school staff that her

        directive was no longer in effect. (Ex. C ¶ 6.)

               Plaintiff alleges that Ms. Mahoney and the District violated RICO and COCCA when: (1)

        Ms. Mahoney prohibited Plaintiff from being on Telluride Elementary School property for a

        portion of the 2014-2015 school year pursuant to the court-issued Protection Order, and (2) the

        District “monitored” and “surveilled” Plaintiff when she was on school property during the

        2017-2018 school year.

               As explained below, Plaintiff’s RICO and COCCA claims against the District and Ms.

        Mahoney are not warranted by existing law and there is no reasonable argument for extending or

        modifying the law to create support for these claims. Mr. Allen’s pursuit of these claims

        constitutes pursuit of a frivolous action. This is not the first time Mr. Allen has pursued

        frivolous RICO claims in this court. Mr. Allen was sanctioned under 28 U.S.C. § 1927 in

        Loncar v. W. Peak, LLC, No. 08-CV-01592-PAB-CBS, 2011 WL 1211522, at *5 (D. Colo. Mar.

        30, 2011) for asserting a frivolous RICO claim.

               By signing the frivolous Complaint and response to Defendants’ Motion to Dismiss

        (“Response”, Docket No. 111), Mr. Allen has violated Fed. R. Civ. P. 11. Further, Mr. Allen has

        violated 28 U.S.C. § 1927 by adding the District and Ms. Mahoney to this lawsuit, and




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        continuing pursuit of Plaintiff’s claims even after Defendants filed a Motion to Dismiss (Docket

        No. 101) outlining the baselessness of the RICO and COCCA claims.

                                             LEGAL STANDARDS

               A.      Fed. R. Civ. P. 11(b).

               “[Fed. R. Civ. P.] 11 imposes a duty on attorneys to certify that they have conducted a

        reasonable inquiry and have determined that any papers filed with the court are well grounded in

        fact, legally tenable, and not interposed for any improper purpose.” Cooter & Gell v. Hartmarx

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        attorney may be sanctioned for signing a pleading without first conducting a “reasonable

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        A Rule 11 violation occurs where it is patently clear that a claim has absolutely no chance of

        success under the existing precedents, and where no reasonable argument can be advanced to

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        a reasonable inquiry was conducted and reasonable conclusions were drawn therefrom is

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        Co. of Am., 935 F.2d 1152, 1155 (10th Cir. 1991). An attorney’s good faith belief in the merit of

        factual allegations and legal claims asserted in a pleading is not sufficient to avoid Rule 11

        sanctions. White v. Gen. Motors Corp., 908 F.2d 675, 680 (10th Cir. 1990). Rather, a pleading

        signed by an attorney must be based on a reasonable inquiry and “in accord with what a

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               “Rule 11 requires sanctions against attorneys who file signed pleadings, motions or other

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        Bowen, 855 F.2d 668, 672 (10th Cir. 1988) (emphasis added).

               B.      28 U.S.C. § 1927.

               Any attorney who multiplies proceedings “unreasonably and vexatiously may be required

        by the court to satisfy personally the excess costs, expenses, and attorney’s fees reasonably

        incurred because of such conduct.” 28 U.S.C. § 1927. The proper standard under § 1927 is that

        excess costs, expenses, or attorney’s fees are imposable against an attorney personally “for

        conduct that, viewed objectively, manifests either intentional or reckless disregard of the

        attorney’s duties to the court.” Braley v. Campbell, 832 F.2d 1504, 1512 (10th Cir. 1987).

        Subjective bad faith by the attorney need not be shown to impose sanctions under § 1927. Id.

                                                   ANALYSIS

               RICO and COCCA are interpreted according to the same principles. Tara Woods Ltd.

        P’ship v. Fannie Mae, 731 F. Supp. 2d 1103, 1125 (D. Colo. 2010) (citing People v. Hoover, 165

        P.3d 784, 798 (Colo. App. 2006)).

               A.      A Reasonable Inquiry into RICO Law Would Have Shown that there is No
                       Reasonable Argument that Plaintiff Has Standing to Pursue the Claim.

               To have standing under RICO, a plaintiff must be “injured in his business or property by

        reason of a violation of section 1962.” Tal v. Hogan, 453 F.3d 1244, 1253 (10th Cir. 2006).

        “Thus … standing for private individuals under RICO requires a plaintiff to have ‘been injured

        in his business or property by the conduct constituting the violation.’” Id. (quoting Sedima,

        S.P.R.L. v. Imrex, Co., 473 U.S. 479, 496 (1985)). Under RICO, “injury to business or property

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        ‘requires proof of a concrete financial loss and not merely injury to a valuable intangible

        property interest.’” Ivar v. Elk River Partners, LLC, 705 F. Supp. 2d 1220, 1232 (D. Colo. 2010)

        (quoting Maio v. Aetna, Inc., 221 F.3d 472, 483 (3rd Cir. 2000)). “[I]njury to … reputation,

        dignity and emotional damages are not the type of injuries redressable by … RICO which are

        expressly limited to injuries to ‘business or property.’” Tal, 453 F.3d at 1254 (citing 18 U.S.C.

        § 1964(c)); see also Bowen v. Oistead, 125 F.3d 800, 806 (9th Cir. 1997) (a RICO claim may not

        be based on allegations of civil rights violations).

               Plaintiff’s alleged injuries resulting from the acts of the District and Ms. Mahoney

        include civil rights violations, damage to reputation, and being humiliated and embarrassed.

        (Compl. ¶¶ 214, 223, 226, 227.) RICO case law expressly holds that these injuries are not

        redressable by RICO. Nowhere in the Complaint does Plaintiff allege that any “business or

        property” interest was injured by the acts of Ms. Mahoney or the District. Further, any argument

        that could be made that a “business or property” interest was injured by the acts of Ms. Mahoney

        or the District would be frivolous. The only conduct of Ms. Mahoney and the District at issue is:

        (1) Ms. Mahoney prohibiting Plaintiff from entering Telluride Elementary School during the

        2014-2015 school year due to the court-issued Protection Order, and (2) the District allegedly

        “monitoring” and “surveilling” Plaintiff when she was on school property during the 2017-2018

        school year. Under no set of facts is it feasible that directing Plaintiff not to be on school

        property and allegedly monitoring her while on school property would result in financial loss

        related to any business or property interest of Plaintiff. Thus, Plaintiff’s RICO claim is not

        warranted by existing law because under no set of facts does she have standing to pursue the

        claim. Further, there is no reasonable argument Plaintiff can make to extend, modify, or reverse


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        the law regarding RICO standing.

               B.      A Reasonable Inquiry into RICO Law Would Have Shown that there is No
                       Reasonable Argument that Ms. Mahoney and the District Engaged in a
                       “Pattern of Racketeering Activity”.

               For her RICO claim, Plaintiff must establish that Ms. Mahoney and the District invested

        in, controlled, or conducted an enterprise “through a pattern of racketeering activity.” Tal, 453

        F.3d at 1261. “Racketeering activity” is any “act which is indictable under federal law and

        specifically includes mail fraud, wire fraud and racketeering.” Id. As stated earlier, the only

        conduct of Ms. Mahoney and the District at issue is: (1) Ms. Mahoney prohibiting Plaintiff from

        entering Telluride Elementary School during the 2014-2015 school year due to the court-issued

        Protection Order, and (2) the District allegedly “monitoring” and “surveilling” Plaintiff when she

        was on school property during the 2017-2018 school year. This alleged conduct cannot, under

        any set of facts, constitute “racketeering activity” as that term is statutorily defined. Further,

        there is no reasonable argument Plaintiff can make to extend, modify, or reverse the law

        regarding what constitutes “racketeering activity.”

               Additionally, to establish a RICO claim, Plaintiff must establish that Ms. Mahoney and

        the District engaged in a “pattern of racketeering activity.” A “pattern of racketeering activity”

        does not include acts “extending over a few weeks or months” that do not “threaten[] … future

        criminal conduct …: Congress was concerned in RICO with long-term criminal conduct.”

        Boone v. Carlsbad Bancorporation, Inc., 972 F.2d 1545, 1556 (10th Cir. 1992). Plaintiff has not

        contended that the alleged acts of Ms. Mahoney and the District constitutes or threatens long-

        term criminal conduct. Additionally, there is no reasonable argument that can be made that the

        District and Ms. Mahoney have engaged in long-term criminal conduct and that they will


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        continue to do so. Plaintiff’s RICO claim is not warranted by existing law because under no set

        of facts did Ms. Mahoney and the District engage in a “pattern of racketeering activity”. Further,

        there is no reasonable argument Plaintiff can make to extend, modify, or reverse RICO law

        regarding the requirement that Defendants’ engage in a pattern of racketeering activity.

               In sum, Plaintiff has no chance of success under existing RICO precedent and there is no

        reasonable argument that can be advanced to extend, modify or reverse the law as it stands.

        Plaintiff and Mr. Allen appear to concede as much because they fail altogether to respond to

        Defendants’ Motion to Dismiss arguments regarding RICO standing and racketeering activity.

        (See Mot. to Dismiss at 5-8; Resp. to Mot. to Dismiss.) The arguments made in Defendants’

        Motion to Dismiss are substantially identical to the arguments made in this motion, and Mr.

        Allen and Plaintiff made no attempt to dispute the baselessness of the RICO and COCCA claims

        in the response.

           ATTORNEY GEORGE ALLEN FAILED TO TAKE ADVANTAGE OF RULE 11’S
                                 SAFE HARBOR

               Fed. R. Civ. P. 11(c)(2) states:

               Motion for Sanctions. … The motion must be served under Rule 5, but it must not be
               filed or be presented to the court if the challenged paper, claim, defense, contention, or
               denial is withdrawn or appropriately corrected within 21 days after service …”

               The cited passage has come to be known as the “safe harbor” provision of Rule 11. The

        purpose of such service in advance of filing with the court is “to give the parties at whom the

        motion is directed an opportunity to withdraw or correct the offending contention.” Hutchinson

        v. Pfeil, 208 F.3d 1180, 1184 (10th Cir. 2000). Given the circumstances, the only way to cure

        the sanctionable conduct is for Attorney George Allen to dismiss his RICO and COCCA claims

        against Ms. Mahoney and the District. He did not do so during the safe harbor period.

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                                                  CONCLUSION

               A reasonable inquiry by Mr. Allen before signing and filing the Complaint and Response

        would have left no doubt that Plaintiff’s RICO and COCCA claims against Ms. Mahoney and the

        District are frivolous and have no chance of success. Thus, Mr. Allen has violated Rule 11.

        Further, Mr. Allen has violated 29 U.S.C. § 1927 by adding the District and Ms. Mahoney to the

        lawsuit and continuing pursuit of the claims even after the filing of Defendants’ Motion to

        Dismiss.

               WHEREFORE, the Defendants request that the Court find Mr. Allen to be in violation of

        Fed. R. Civ. P. 11 and 29 U.S.C. § 1927, sanction Mr. Allen by making him jointly and severally

        liable for the Defendants’ attorneys’ fees in this matter, and grant such other relief as the Court

        deems just.

               RESPECTFULLY SUBMITTED this ___ day of March, 2019.

                                               SEMPLE, FARRINGTON, EVERALL & CASE, P.C.

                                                              By:    s/ Daniel P. Spivey
                                                                      Michael Brent Case
                                                                      Daniel P. Spivey
                                                                      1120 Lincoln Street, Suite 1308
                                                                      Denver, CO 80203
                                                                      (303) 595-0941
                                                                      bcase@semplelaw.com
                                                                      dspivey@semplelaw.com




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